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                                UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION



 NETLIST, INC.,                                         Civil No. 2:22-cv-00293-JRG
                                                        (Lead Case)
                 Plaintiff,
                                                        JURY TRIAL DEMANDED
         v.

 SAMSUNG ELECTRONICS CO., LTD., et al.,

                 Defendants.


  SAMSUNG’S MOTION TO EXCEED PAGE LIMITS FOR DECLARATION AND
 EXHIBITS SUPPORTING MOTION FOR LIMITED RELIEF FROM PROTECTIVE
                             ORDER

        Defendant Samsung moves for leave to file 138 pages of a supporting declaration and

exhibits to support its Motion for Limited Relief from Protective Order (the “Motion”), in excess of

the page limits imposed by paragraph 10 of the Discovery Order. Samsung conferred with opposing

counsel regarding this motion and Netlist indicated it does not oppose provided Samsung agrees to

a reciprocal expansion of the exhibit page limit for Netlist’s response.

        Samsung moves for leave to ensure that the Court has access to representative documents it

seeks to provide to the Central District of California (“CDCA”) court, as described in its Motion, as

well as transcripts from related proceedings in CDCA relevant to the Motion. Samsung is mindful

of the Court’s limited time and resources. However, Samsung submits this motion so that the Court

may have sufficient explanation of the facts and issues. Samsung does not seek leave to put

irrelevant or duplicative information before the Court. Therefore, in order to minimize the burden

on the Court, Samsung proposes to attach only a representative sample of documents referenced in

the Motion, rather than all of the subject documents. If, however, the Court would prefer to review

all documents addressed by the Motion, Samsung can provide copies of those as well.
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       Accordingly, Samsung respectfully requests that it be granted leave to exceed the Court’s

page limit for a declaration and exhibits supporting its Motion.




Dated: June 25, 2024                           Respectfully submitted,

                                               /s/ Marc J. Pensabene

                                               Marc J. Pensabene


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                         Attorneys for Defendants Samsung Electronics Co., Ltd.;
                    Samsung Electronics America, Inc.; and Samsung Semiconductor, Inc.




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed electronically

in compliance with Local Rule CV-5 on June 25, 2024. As of this date, all counsel of record have

consented to electronic service and are being served with a copy of this document through the Court’s

CM/ECF system under Local Rule CV-5(a)(3)(A) and via electronic mail.

                                                         /s/ Melissa R. Smith



                              CERTIFICATE OF CONFERENCE

       I hereby certify that, pursuant to L.R. 7(h), our team met and conferred with counsel of record

for Netlist on the subject of this motion on June 24, 2024. Netlist indicated it does not oppose

provided Samsung agrees to a reciprocal expansion of the exhibit page limit for Netlist’s response

                                                         /s/ Melissa R. Smith




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